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  TO:              Jonathan J. Brennan, Esq.
                   Gabrielle L. Gould, Esq.
                   Robert C. Harris, Esq.
                   Scott C. Ilgenfritz, Esq.

  From:            Lisa D. Lasher
                   Senior Case Administrator

  Subject:         FINRA Dispute Resolution Services Arbitration Number 19-02053
                   Beverley B. Schottenstein, et al. vs. J.P. Morgan Securities, LLC, Evan A.
                   Schottenstein and Avi E. Schottenstein

  Date:            October 16, 2020


  As you know, FINRA staff disclosed to Arbitrator Scutti that Respondent JP Morgan filed a challenge to
  his appointment in this matter. FINRA’s procedure is to keep these filings confidential. FINRA
  apologizes for this administrative error. In this instance, the nature of the challenge was based upon
  whether Mr. Scutti was properly classified as a public arbitrator. This is a neutral issue that does not rise
  to the level of creating a demonstrable bias resulting in prejudice to any party. It is not reasonable to infer
  that the arbitrator is biased, lacks impartiality, or has a direct or indirect interest in the outcome of the
  arbitration. Respondents have not established an interest or bias that is definite or capable of reasonable
  demonstration. Therefore, the Director has determined that Arbitrator Scutti’s appointment to the Panel is
  affirmed.


  LYL:lyl:LC53A
  idr: 02/18/2020

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  On Behalf Of: Beverly B. Schottenstein, as Co-Trustee; Beverley B. Schottenstein
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